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1    LAW OFFICES OF WING & PARISI
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5
     Attorneys for Andrea Turner
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8                              IN THE UNITED STATES DISTRICT COURT

9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                  No. 2:13-CR-00144 CKD
11    UNITED STATES OF AMERICA
                                              )   [PROPOSED] ORDER TO RETURN
12                               Plaintiff,
                                                  PASSPORT
13          v.

14
      ANDREA LYNN TURNER
15                   Defendant,

16

17
                 Ms. Turner was released pursuant to a $50,000.00 unsecured bond. On April 5,
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     2013, Ms. Turner deposited her passport (receipt #486381714 (Doc. 17)) with this Court
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     as a condition of her release on bond. On August 19, 2015, Ms. Turner plead guilty to
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     Count 1 of the Indictment. On August 19, 2015, the Court sentenced Ms. Turner to
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     imprisonment for a term of 2 months. Ms. Turner has successfully completed her term.
22
             Ms. Turner is not on a probation or supervised release. She has satisfied her
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     obligations to the Court. Ms. Turner requests that this Court Ordder the release of
24
     passport
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     //
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     //
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                            Case 2:13-cr-00144-CKD Document 279 Filed 03/07/16 Page 2 of 2


               1              ORDER

               2              It is hereby ORDERED that the Clerk of Court or his/her designee release Ms.

               3      Turner’s passport to the Law Offices of Wing & Parisi, 917 G Street, Sacramento, CA

               4      95814, to deliver the passport to Ms. Andrea Turner.

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                      Dated: March 7, 2016
               6                                                 _____________________________________
               7                                                 CAROLYN K. DELANEY
                                                                 UNITED STATES MAGISTRATE JUDGE
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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